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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

  UNITED STATES OF AMERICA

  v.                                                Case No. 8:03-cr-77-T-30TBM

  HATIM NAJI FARIZ
  ____________________________________


                                         ORDER
        This cause is before the Court upon Defendant Fariz’s Motion to Compel Production

  of Specific BRADY Material and Request for Hearing (Dkt. #S-22), and the Government’s

  response thereto (Dkt. #1124). The Court has determined that Defendant’s Motion should

  be GRANTED in part and DENIED in part. Specifically, the Court rules as follows:

        1.     The information requested concerning witness Muneer Arafat is DENIED.

        2.     The information requested concerning witness Melissa Williams is GRANTED

  in part in that the Government is directed to disclose to the defense the name of the

  institution, if known, referred to in the Government’s previous disclosure to the defense

  concerning this witness. In all other respects, the request is DENIED.

        3.     Defendant’s request as to witness Dr. Taha Jaber Al-Alwani is DENIED.

        4.     Defendant’s request concerning witness Vince Cannistraro is GRANTED only

  to the extent that the Government shall produce any statement of this witness that is

  discoverable pursuant to the Jencks Act. In all other respects, the request is DENIED.
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                    It is therefore ORDERED AND ADJUDGED that:

            1.      Defendant Fariz’s Motion to Compel Production of Specific BRADY Material

  and Request for Hearing (Dkt. #S-22) is GRANTED in part and DENIED in part as stated

  herein.

            2.      The Clerk is directed to terminate this motion and any other related pending

  motion.

            DONE and ORDERED in Tampa, Florida on May 27, 2005.




  Copies furnished to:
  Counsel/Parties of Record
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